                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                      Case No. 07-CR-88

JEREMY J. HANNA,

                       Defendant.


                                              ORDER


       Defendant Jeremy J. Hanna has sent a letter to the Court requesting that his sentence be

reduced by 218 days to reflect a period of time he was in custody on state charges. Hanna notes that

his family is having a great deal of difficulty trying to make ends meet without him and that his

sentencing was delayed because of difficulties with his father’s case. Since the Court ordered that

his federal sentence would commence forthwith, Hanna reasons that, had his case been before the

Court earlier, he would have received credit for the 218 days he spent in custody on his state charge.

       Rule 35 of the Rules of Criminal Procedure permits a court to modify a sentence under

limited circumstances, none of which appear in Hanna’s letter. He did receive a reduction based

on the Government’s motion for a downward departure, but no grounds currently exist for a further

reduction.

       Accordingly, to the extent the letter request is construed as a motion, it must be denied.

       SO ORDERED this          4th   day of November, 2009.

                                                       s/ William C. Griesbach
                                                       William C. Griesbach
                                                       United States District Judge



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